65 F.3d 186
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Lester E. ERICKSON, Jr., Petitioner,v.DEPARTMENT OF the Treasury, Respondent.
    No. 94-3485.
    United States Court of Appeals, Federal Circuit.
    July 17, 1995.
    ON MOTION
    ORDER
    
      1
      Lester E. Erickson, Jr. moves to voluntarily dismiss his petition for review.  The Department of the Treasury has not responded.
    
    
      2
      Upon consideration thereof,
    
    IT IS ORDERED THAT:
    
      3
      (1)  Erickson's motion is granted and the petition is dismissed.
    
    
      4
      (2)  Each side shall bear its own costs.
    
    